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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



NETFLIX WORLDWIDE ENTERTAINMENT,
LLC; NETFLIX STUDIOS, LLC,

                     Plaintiffs,

v.

ABIGAIL BARLOW d/b/a ABIGAIL                         CASE NO. 1:22-cv-02247-TJK
BARLOW PUBLISHING; PINK & PURPLE
LADY, INC.; EMILY BEAR d/b/a JORDAN
KING MUSIC USA; BARLOW & BEAR, LLC,

                     Defendants.




                         NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiffs Netflix Worldwide

Entertainment, LLC and Netflix Studios, LLC hereby dismiss this action with prejudice.



Dated: September 23, 2022                Respectfully submitted,

                                         /s/ Rose Leda Ehler
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                                         Netflix Studios, LLC
